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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW MEXICO
                                           Albuquerque

                                 Before the Honorable Bruce D. Black
                                     United States District Judge

                                     Clerk's Minutes - Evidentiary


Date:    4/19/2011                                      Case No.: CV 10-1222 BB/ACT

Title:   Pike v. Payment Recovery Services, Inc.        Total Time: 21 minutes

Courtroom Clerk: E. Romero                              Court Reporter: J. Bean

Type of PROCEEDING: Damages Hearing


ATTORNEYS PRESENT:
Plaintiff(s):                                           Defendant(s):
Rob Treinen                                             None present

PROCEEDINGS:
9:59     Court in session
         Counsel state appearance
         No one appearing for Defendant
         Mr. Treinen calls witness - Richard Pike - sworn - direct
         Exhibits A and B - ADMITTED
10:05    Witness is excused
         Mr. Treinen calls witness - Angela McGuire-Pike - sworn - direct
10:07    Witness is excused
         Exhibits C and D - ADMITTED
         Mr. Treinen argues further damages
         Court will grant injunction, $1000.00 FDCPA, $10,000 trebled and attorney fees $3528.
         Exhibit E- ADMITTED
         Mr. Treinen to prepare order
10:20    Court is adjourned
